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         IN WITNESS WHEREOF, the undersigned Parties have executed this Agreement as of
 the date written below.

                                     PLAINTIFF SC NAACP

                                     Signed:

                                         /2.J;rtc;/J;J ~ , 'f
                                     By: Brenda C. Mu h

                                     Its: President

                                     Date: May 5, 2022

                                     Counsel:


                                     HOUSE DEFENDANTS

                                     Signed:



                                     By: James H. Lucas

                                     Its: Speaker of the House of Representatives

                                      Date: May 5, 2022

                                      Signed:



                                      By: Chris Murphy

                                      Its: Chairman of the Judiciary Committee

                                      Date: May 5, 2022

                                      Signed:



                                      By: Wallace H. Jordan



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